  Case 22-50029-jwc           Doc 12 Filed 01/06/22 Entered 01/07/22 00:51:38                        Desc Imaged
                                    Certificate of Notice Page 1 of 2
                    UNITED STATES BANKRUPTCY COURT, Northern District of Georgia
                                          Atlanta Division
                                    1340 United States Courthouse
                                      75 Ted Turner Drive SW
                                         Atlanta, GA 30303
                                       www.ganb.uscourts.gov
In
Re:    Doris Ross                                           Case No.: 22−50029−jwc
                                                            Chapter: 13
                                                            Judge: Jeffery W. Cavender

                      ORDER SETTING DEADLINES FOR DEBTOR TO CORRECT
                                  FILING DEFICIENCY(IES)
The Debtor filed a petition under the United States Bankruptcy Code on 1/3/22 . This case contains one or more filing
deficiencies that must be corrected. Deficiencies in the items listed below may include failure to file the document, failure
to sign the document or failure to submit the document on a form that substantially conforms to the Official Bankruptcy
Form. Links to all required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms,
instructions and guidelines are on the court website www.ganb.uscourts.gov.

To be filed by 01/10/22
None Apply

To be Filed by 01/17/22
Statement of Financial Affairs (Official Form B107)
Schedules A/B thru J (Official Forms B106A/B − B106J)
Summary of Assets and Liabilities (Official Form B106 Summary)
Declaration About Debtor's Schedules (Official Form B106)
Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (Form
B122 C−1) and, if applicable, Chapter 13 Calculation of Your Disposable Income (Form B122 C−2)
Chapter 13 Plan, complete with signatures (to be served by debtor's counsel, if applicable)
Pay Advices: (A) Copies of Pay Stubs (or other evidence of payment) received from any employer within
60 days prior to filing or alternatively (B) a Statement signed by the Debtor certifying within 60 days
prior to filing, the Debtor 1 did not receive pay stubs from any employer and was either Unemployed,
self−employed or other explanation.




To be filed by 02/02/22
None Apply


If, by the dates set forth above, i) the Debtor fails to file the required papers or correct the deficiencies; ii) no
request for an extension of time is pending; or iii) neither the debtor nor any party in interest has requested a
hearing thereon, the Court may dismiss this case without further notice or hearing.

The Clerk will serve this order on Debtor, Debtor's counsel, and Trustee.

SO ORDERED, on January 4, 2022.




Form 430b December 2018                                        Jeffery W. Cavender
                                                               United States Bankruptcy Judge
       Case 22-50029-jwc                    Doc 12 Filed 01/06/22 Entered 01/07/22 00:51:38                                              Desc Imaged
                                                  Certificate of Notice Page 2 of 2
                                                               United States Bankruptcy Court
                                                                Northern District of Georgia
In re:                                                                                                                  Case No. 22-50029-jwc
Doris Ross                                                                                                              Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113E-9                                                   User: bncadmin                                                              Page 1 of 1
Date Rcvd: Jan 04, 2022                                                Form ID: 430b                                                              Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 06, 2022:
Recip ID                 Recipient Name and Address
db                     + Doris Ross, 5801 Rock Springs Road, Lithonia, GA 30038-1504

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 06, 2022                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 4, 2022 at the address(es) listed
below:
Name                               Email Address
Nancy J. Whaley
                                   ecf@njwtrustee.com


TOTAL: 1
